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                          MTHEUNrrEDSTATESDISTRICTCOURT ';'^                          ^
                         FOR THE EASTERN DISTRICT OF VIRGINIA;; j ^„
                                                                          . I 110 212017
                                        Alexandria Division
                                                                          u.._
 UNITED STATES OF AMERICA
                                                       Case No. 17-MJ-611
            V.



 JULIAN PAULASSANGE,                                   Ffled Under Seal


        Defendant.


                  GOVERNMENT'S MGHON TO SEAL COMPLAINT AND
            STTPPORTING DOCUMENTS PURSUANT TO LOCAL RliLE 49m

       The United States ofAmerica,pursuant to Local Rule 49(B)ofthe Local Crimmal Rules
for the U.S. District Court for the Eastern District ofVirginia,respectfully requests an Order To
Seal the criminal complaint,the supporting affidavit, arrest warrant,and this Motion to Seal and
proposed Order until the defendant is arrested and extradited to the United States.
I.     Reasons for Sealing(See Local Rule 49(B)(1))
       1.        The governmentis currently investigating WOkiLeaks founder Julian Assange,|




       2.        As described in the affidavit supporting the criminal complaint,the United States

has charged Mr.Assange with conspiracy to commit computer intrusions in violation of18
U.S.C. §§ 371 and 1030.



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       3.      Premature disclosure ofthe specific details ofthis ongoing investigation would
jeopardize the investigation,including by aiding Assange in his attempt to flee from or otherwise
avoidprosecutionintheUnitedStates. In addition, given the nature ofthe crimes under
investigation and the status ofthe investigation,the specific details ofthe evidence included in
the affidavit necessarily contain sensitive law enforcement infonnation about an ongoing
investigation. Thus,a sealing order is necessary to avoid hindering the ongoing investigation in
this matter.

       4.      Specifically, since 2012, Mr.Assange has been Hving in the Ecuadorian embassy
in London. Assange originally fled to the Ecuadorian embassyin order to avoid extradition to
Sweden where he was wanted in connectioE with sexual assault charges.
       5.      Assange's decision to flee to the Ecuadorian embassy and to live there for five
years appears to have also been motivated by a desire to avoid a potential extradition to the
United States. Indexed,Assange has remained in the embassy even after Sweden announced on
May 19,2017 that it was dropping its charges against him. In a public statement after that
decision was announced,Assange stated that *the road is far from over,the war,the proper war,
isjust commencing," apparently referring to the fact that the United Kingdom may arrest him for
violating the conditions ofhis bail and thatthe United States may seek his arrest and extradition.
        6.      Although the government has confirmed that Mr.Assange or WikiLeaks is under
investigation, the govemm^it has never provided the specific details ofthat ongoing
investigation, nor stated whether hfr.Assange has been charged or which ofhis affiliates may
 also be under investigation. Mr.Assange has shown a desire to avoid answering any charges in
 the United States and has relations with countries that may be willing to assist him jn avoiding
 prosecution in the United States. Any further information upon the status ofthis investigation.


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such as the information contained in the affidavit in support ofthe proposed criminal complaint,
may assist Assange in continuing to avoid arrest by the United States or its allies. SeeIn re
Application ofthe United States ofAmericafor an OrderPursuant to 18 U.S.C. Section 2703(d),
707 F.3d 283,294(41h Cir. 2013)(rejecting the argument that the government's confirmation of
an ongoing investigation into WikiLeaksjustifies disclosure ofdocuments containing nonpublic
facts regarding that ongoing investigation).
       7.      The United States has considered altematives less drastic than sealing, including,
for example,the possibility ofredactions, and has determined that none would suffice to protect
this investigatioiL

n.      The Governmg Law {See Local Rule 49(B)(2))
        8.     It is generally recognized that the public has a common-law ri^t ofaccess,but
not a First Amendment right ofaccess,tojudicial documents,including documents associated
with exparte proceedings such as crirnmal con^laints.See In re Application,707 F.3d at 292;
Media Gen. Operations, Inc. v. Buchanan,417 F.3d 424,429(4th Cm 2005). To substantively
overcome the common law presumption ofaccess, a court must find that there is a "significant
countervailing interest" in support ofsealing that outwei^s the public's interest in openness.In
re Application,707 R3d at 293,citing Under Seal v. Under Seal,326 F.3d 479,486(4th
Cir. 2003).

        9.      Before a court generally may sealjudicial records or documents,it must
(a)provide public notice ofthe request to seal and allow interested parties a reasonable
opportunity to object,(b)consider less drastic altematives to sealing the documents,and
(c)provide specific reasons and factual findings supporting its decision to seal the documents
and for rejecting the altematives. Ashcraf v. Conoco,Inc.,218 F.3d 288,302(4th Cir. 2000).


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       10.     The "notice requirement is fiilfiUed by docketing 'the order sealing the
documents,'which gives interested parties the opportonity to object after the execution ofthe
legal process in question. Media Gen. Operations, 417 F.3d at 429(quoting Baltimore Sun Co. v.
Goetz,886 F.2d 60,65(4th Cir. 1989)).
       11;     Finally,regarding the requirement ofspecific findings,the Fourth Circuit's
precedents state that"in entering a sealing order,a 'judicial officer may explicitly adopt the facts
that the government presents to justify sealing when the evidence appears creditable,"'Media
Gen. Operations,417 R3d at430(quoting Goetz, 886 F.2d at 65),so long as the ultimate
"decision to seal the papers...[is] made by thejudicial officer," Goetz,886 F.2d at 65.
Moreover,"[i]fappropriate,the government's submission and the [judicial] officer's reason for
sealing the documents can be fiOled under seal."Id. at 65;jee also In re Wash.Post Co.,807 F.2d
383,391 (4th Cir, 1986)("[I]fthe court concludes that a denial ofpublic access is warranted, the
court mayfile its statement ofthe reasons for its decision under seal."). The government's
interest in sealing may be supported by a desire to maintain the secrecy ofthe investigation,
preventing potential subjects from being tipped off, or altering behavior to thwart the
government's ongoing investigation.In re Application,707 F.3d at 293.
m. Period of Time the United States Seeks to Have Matter Remain
        Under Seal(See Local Rule 49(B)(3))
        12.    The complaint.and supporting documents would need to remain sealed until the
defendant is arrested and extradited, except that the United States may provide a copy ofthese
documents,and information relating thereto,to such foreign and domestic law enforcement,
judicial, and diplomatic personnel as necessary to secure the defendant's arrest and extradition.
        13.     Upon occurrence ofthe event specified in paragraph 12,pursuant to Local Rule
49(B)(3),the sealed materials will be automatically unsealed and handled as such.

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       14.     The United States has considered alternatives less drastic than sealing and has
found none that would sufSce to protect this investigation.

       WHEREFORE,the United States re^ectfiilly requests that the compl^t,the supporting
affidavit, and the arrest warrant,together with this Motion to Sed and proposed Order,be sealed
until the defendant has been arrested and extradited, except that the United States may provide a
copy ofthese documents to such foreign and domestic law enforcement,judicial, and diplomatic
personnel as necessary to secure the defendant's arrest and extradition.


Date: December W.2017 ' '                . Respectfully submitted,
                                             DanaJ. Bqente
                                             United States Attomey



                                                       Dwyer
                                             Assistant United States Attomey




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